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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE WESTERN DISTRICT OF TEXAS
                                          SAN ANTONIO DIVISION

   IN RE:                                                     §
                                                              §
   DEEPROOT CAPITAL MANAGEMENT,                               §
   LLC, ET AL.,1                                              §            BANKRUPTCY NO. 21-51523-MMP
                                                              §            LEAD CASE
   DEBTORS.                                                   §            JOINTLY ADMINISTERED


   IN RE:                                                     §
                                                              §
   POLICY SERVICES, INC.                                      §            BANKRUPTCY NO. 21-51513
                                                              §
   DEBTOR.                                                    §            JOINTLY ADMINISTERED



                   TRUSTEE’S NOTICE OF NO COMPETING BIDS RELATING TO THE
             PROPOSED SALE OF THE PROPERTY OF THE ESTATE OF POLICY SERVICES, INC.


            John Patrick Lowe, Chapter 7 Trustee of the Jointly Administered Debtors herein

   (“Trustee”) files this Notice of No Competing Bids Relating to the Proposed Sale of the Property

   of the Estate of Policy Services, Inc.

            Pursuant to the Order Approving Trustee’s Motion to Approve (A) Sale Procedures,

   Stalking Horse Agreement and Bid Protections in Connection with the Sale of Property of the

   Estate of Policy Services, Inc. and (B) the Form of Notice for the Sale of Property of the Estate

   of Policy Services, Inc. [ECF No. 85, the “Procedures Order”], Trustee was ordered to file a

   Notice stating whether he has timely received a binding offer to purchase the Policies2 in a cash

   amount of at least $1,250,000.00.




    1
       The Debtors in these chapter 7 cases, along with the last four digits of each Debtor's federal tax identification
     number, are: Policy Services, Inc. (2864), Wizard Mode Media, LLC (3205), deeproot Pinball LLC (0320),
     deeproot Growth Runs Deep Fund, LLC (8046), deeproot 575 Fund, LLC (9404), deeproot 3 Year Bonus
     Income Debenture Fund, LLC (7731), deeproot Bonus Growth 5 Year Debenture Fund, LLC (9661),
     deeproot Tech LLC (9043), deeproot Funds LLC (9404), deeproot Studios LLC (6283), and deeproot Capital
     Management, LLC (2638).
   2
     Capitalized Terms shall have the same meaning as those ascribed in the Procedures Order.
   {00572981;1}
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            Trustee advises that no competing bids were received by the deadline of April 4, 2022.



                                                    Respectfully submitted,

                                                    PULMAN, CAPPUCCIO & PULLEN, LLP
                                                    2161 NW Military Highway, Suite 400
                                                    San Antonio, Texas 78213
                                                    www.pulmanlaw.com
                                                    (210) 222-9494 Telephone
                                                    (210) 892-1610 Facsimile

                                                    By: /s/Randall A. Pulman
                                                        Randall A. Pulman
                                                        Texas State Bar No. 16393250
                                                        rpulman@pulmanlaw.com

                                                    ATTORNEYS FOR JOHN PATRICK LOWE,
                                                    CHAPTER 7 TRUSTEE




   {00572981;1}
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                                        CERTIFICATE OF SERVICE

          I hereby certify that on the 5th day of April, 2022, I electronically filed the foregoing
   document using the CM/ECF system, which will serve the document to the following parties
   requesting notice.

   Via Counsel CM/ECF:                                      Via CM/ECF: rbattaglialaw@outlook.com
   catherine.curtis@wickphillips.com                        Raymond W. Battaglia
   ;jason.rudd@wickphillips.com                             LAW OFFICES OF RAY BATTAGLIA, PLLC
   Policy Services, Inc.                                    66 Granburg Circle
   deeproot Pinball, LLC                                    San Antonio, TX 78218
   deeproot Growth Runs Deep Fund, LLC
   deeproot 575 Fund, LLC                                   Via CM/ECF: jpetree@mcslaw.com
   deeproot 3 Year Bonus Income Fund, LLC                   Jonathan Petree
   deeproot BonusGrowth 5 Year Debenture Fund, LLC          MCGUIRE, CRADDOCK & STROTHER, P.C.
   deeproot Tech, LLC                                       500 N. Akard Street Suite 2200
   deeproot Funds, LLC                                      Dallas, TX 75201
   deeproot Studios, LLC
   deeproot Capital Management, LLC                         Via CM/ECF: jdunne@smfadlaw.com
   12621 Silicon Dr.                                        John C. Dunne
   San Antonio, TX 78249                                    SHANNON, MARTIN et al.
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   Via Counsel Via CM/ECF:                                  Houston, TX 77002
    catherine.curtis@wickphillips.com;
   jason.rudd@wickphillips.com                              Via CM/ECF: bk-cmurphy@oag.texas.gov
   Wizard Mode Media, LLC                                   Texas Workforce Commission
   12227 S. Business Park Drive, Suite 130                  c/o Christopher S. Murphy
   Draper, UT 84020                                         TEXAS ATTORNEY GENERAL'S OFFICE
                                                            PO Box 12548
   Via CM/ECF: pat.lowe.law@gmail.com                       Austin, TX 78711
   John Patrick Lowe
   2402 East Main Street                                    Via CM/ECF: pautry@branscomblaw.com
   Uvalde, TX 78801                                         Patrick H. Autry
                                                            BRANSCOMB PLLC
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   catherine.curtis@wickphillips.com;                       San Antonio, TX 78249
   jason.rudd@wickphillips.com
   Catherine A. Curtis/Jason M. Rudd                        Via CM/ECF: lmjurek@jureklaw.com
   WICK PHILLIPS GOULD & MARTIN, LLP                        Lynn M. Jurek
   3131 McKinney Ave, Suite 500                             THE JUREK LAW GROUP, PLLC
   Dallas, TX 75204                                         4309 Yoakum Blvd.
                                                            Houston, TX 77006
   Via CM/ECF:
   USTPRegion07.SN.ECF@usdoj.gov
   Aubrey.thomas@usdoj.gov
   United States Trustee - SA12
   US TRUSTEE'S OFFICE (Aubrey Thomas)
   615 E Houston, Suite 533
   San Antonio, TX 78295-1539

                                                     s/ Randall A. Pulman
                                                     Randall A. Pulman



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